                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )
                                                   )
       vs.                                         )      No. 12-03009-01-CR-S-MDH
                                                   )
JOSE ALVAREZ,                                      )
                                                   )
                         Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Counts One and

Six contained in the Second Superseding Indictment filed on August 28, 2012, is now Accepted

and the Defendant is Adjudged Guilty of such offense. Sentencing will be set by subsequent

Order of the Court.




                                                         s/Douglas Harpool
                                                        DOUGLAS HARPOOL
                                                   UNITED STATES DISTRICT JUDGE




Date: October 28, 2014




      Case 6:12-cr-03009-MDH          Document 242       Filed 10/28/14    Page 1 of 1
